          Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 1 of 18




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------X
 DAVID ABERNETHY, FRED BLICKMAN,                                   :
 DOMINIC D’ADAMO, MARILYN DEQUATRO, :
 THOMAS DWYER, MICHAEL FULLWOOD,                                   :   Civil Action No. 17-cv-7814 (KPF)
 PHILIP GANDOLFO, MICHAEL HERBERT,                                 :
 STEVEN KESSLER, DENNIS LIOTTA, DANIEL :
 MCGOWAN, RONALD PLATT, ARAN RON,                                  :   SECOND AMENDED CLASS
 VINCENT SCICCHITANO, JOHN STEBER,                                 :   ACTION COMPLAINT
 LESLIE STRASSBERG, PEDRO VILLALBA,                                :
 ANTHONY WATSON and MARC WOLFERT, on :
 behalf of themselves and all other similarly-situated :
 individuals,                                                      :
                                                                   :
                                     Plaintiffs,                   :
                                                                   :
                  v.                                               :
                                                                   :
 EMBLEMHEALTH, INC., EMBLEMHEALTH                                  :
 SERVICES COMPANY, LLC and                                         :
 CONNECTICARE, INC.,                                               :
                                                                   :
                                     Defendants.                   :
                                                                   :
 ------------------------------------------------------------------X

        Plaintiffs, by and through undersigned counsel, Wigdor LLP, and on behalf of themselves

and all other similarly situated retired officers of Defendants EmblemHealth, Inc.,

EmblemHealth Services Company, LLC and ConnectiCare, Inc. (“ConnectiCare”) (together,

“EmblemHealth,” the “Company” or “Defendants”) hereby allege as follows:

                                     PRELIMINARY STATEMENT

        1.       EmblemHealth’s recent advertising campaign promised: “COVERAGE FOR

THE THINGS THAT MATTER MOST. Health Plan. For Now. For Life.”

        2.       Unfortunately for Plaintiffs, they have learned that EmblemHealth does not count

its own retired officers within the “things that matter most,” as it defrauded Plaintiffs and

similarly situated retired officers of the health benefits they were promised to receive so long as
         Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 2 of 18




they met certain eligibility requirements (which all Plaintiffs did) and offered health benefits to

active officers.

        3.         Based on these promises, Plaintiffs and other similarly situated officers or

executives (“hereinafter “Executives”) remained at EmblemHealth and dedicated their lives to

building EmblemHealth into the renowned regional health insurance company that it is today.

        4.         Through their leadership and vision, serving in the highest levels of the

Company’s management, including, inter alia, Chief Executive Officer, Chief Operating Officer,

Chief Actuary, Chief Medical Officer, Chief Information Officer, General Counsel, Executive

Vice President, Senior Vice President and Vice President, Plaintiffs developed and instituted

many of the policies that were integral to the rise of EmblemHealth in the insurance industry.

        5.         However, with all Plaintiffs now retired, the new regime at EmblemHealth has

seized the opportunity to renege on its promises to provide retiree health benefits to them and

similarly situated retired officers, despite continuing health benefits for active officers.

        6.         Specifically, in June 2016, EmblemHealth notified Plaintiffs and similarly

situated retired officers that it would no longer be willing to abide by its promise to provide them

with retiree health benefits, effective January 1, 2017.

        7.         Now, Plaintiffs – who were unlawfully denied their retiree health benefits – have

been left to search for expensive health insurance on the open market.

        8.         What is worse, EmblemHealth’s termination of the retiree health benefits appears

to have been a calculated and intentional scheme to defraud Plaintiffs and similarly situated

retired officers of health benefits in order to save the Company money.




                                                     2
            Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 3 of 18




        9.      This class action seeks monetary damages, declaratory and injunctive relief to

enforce Defendants’ promises to provide retiree health benefits at the same level as active

officers.

                                  JURISDICTION AND VENUE

        10.     Pursuant to 28 U.S.C. §§ 1331 and 1343, this Court originally had subject matter

jurisdiction over this action because this action involves federal questions under the ERISA.

        11.     Pursuant to 28 U.S.C. § 1391(a), venue is proper in this district because a

substantial part of the events or omissions giving rise to this action occurred in this district.

        12.     Pursuant to 28 U.S.C. § 1367(a), the Court has retained supplemental jurisdiction

over Plaintiffs’ related claims for breach of contract and breach of the implied covenant of good

faith and fair dealing.

                                              PARTIES

Plaintiffs and Class Representatives

        13.     Plaintiff David Abernethy is a former employee of EmblemHealth and held the

title of Senior Vice President.

        14.     Plaintiff Fred Blickman is former employee of EmblemHealth and held the title of

Senior Vice President.

        15.     Plaintiff Dominic D’Adamo is a former employee of EmblemHealth and held the

title of Senior Vice President.

        16.     Plaintiff Marilyn DeQuatro is a former employee of EmblemHealth and held the

title of Senior Vice President.

        17.     Plaintiff Thomas Dwyer is a former employee of EmblemHealth and held the title

of Senior Vice President.




                                                   3
         Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 4 of 18




       18.     Plaintiff Michael Fullwood is a former employee of EmblemHealth and held the

titles of Executive Vice President, General Counsel and Chief Financial Officer.

       19.     Plaintiff Philip Gandolfo is a former employee of EmblemHealth and held the title

of Senior Vice President.

       20.     Plaintiff Michael Herbert is a former employee of ConnectiCare and

EmblemHealth and held the title of Executive Vice President.

       21.     Plaintiff Steven Kessler is a former employee of EmblemHealth and held the titles

of Senior Vice President and Chief Underwriter.

       22.     Plaintiff Dennis Liotta is a former employee of EmblemHealth and held the titles

of Vice President and Senior Medical Director.

       23.     Plaintiff Daniel McGowan is a former employee of EmblemHealth and held the

titles of President and Chief Operating Officer.

       24.     Plaintiff Ronald Platt is a former employee of EmblemHealth and held the titles

of Executive Vice President and Chief Medical Officer.

       25.     Plaintiff Aran Ron is a former employee of EmblemHealth and held the titles of

Executive Vice President, Chief Operating Officer and Medical Director.

       26.     Plaintiff Vincent Scicchitano is a former employee of EmblemHealth and held

title of Senior Vice President.1

       27.     Plaintiff John Steber is a former employee of EmblemHealth and held the titles of

Executive Vice President and Chief Information Officer.




1
        Plaintiffs note that there is a dispute concerning Mr. Scicchitano’s right to retiree health
benefits and whether his retiree health benefits were pursuant to his separation agreement or
some other agreement/plan. As such, discovery on Mr. Scicchitano’s contract claims is necessary
to determine the source of his retiree health benefits


                                                   4
         Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 5 of 18




       28.     Plaintiff Leslie Strassberg is a former employee of EmblemHealth and held the

titles of Senior Vice President and Chief Actuary.

       29.     Plaintiff Pedro Villalba is a former employee of EmblemHealth held the titles of

Senior Vice President and Chief Technology Officer.

       30.     Plaintiff Anthony Watson is a former employee of EmblemHealth and held the

titles of Chief Executive Officer and Chairman of the Board of Directors.

       31.     Plaintiff Marc Wolfert is a former employee of EmblemHealth and held the titles

of Senior Vice President Chief and Chief Laboratory Officer of EmblemHealth, as well as Chief

Operating Officer of the Centralized Laboratory at EmblemHealth.

       32.     At all relevant times, all Plaintiffs met the definition of a “participant,”

“beneficiary,” “employee” and/or “eligible employee” under all applicable statutes.

Defendants

       33.     Defendant EmblemHealth, Inc. is a domestic not-for-profit corporation, with its

principal place of business at 55 Water Street, New York, New York 10041.

       34.     Defendant EmblemHealth Services Company, LLC is a foreign limited liability

company authorized to conduct business in New York, with its principal place of business at 55

Water Street, New York, New York 10041.

       35.     Defendant ConnectiCare, Inc. is a wholly owned subsidiary of EmblemHealth,

Inc. and EmblemHealth Services Company, LLC with its principal place of business at 175 Scott

Swamp Road, Farmington, Connecticut 06032.

       36.     At all relevant times, all Defendants met the definitions of an “employer,”

“administrator” and/or “plan sponsor” under all applicable statutes.




                                                  5
         Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 6 of 18




                                  FACTUAL ALLEGATIONS

Plaintiffs’ Contributions to EmblemHealth

       37.     Plaintiffs began working at EmblemHealth (or, if employed prior to September

2005, at either Group Health Incorporated or Health Insurance Plan of Greater New York, before

the two companies merged to form EmblemHealth) and/or ConnectiCare as early as 1980.

       38.     At EmblemHealth, Plaintiffs held various prestigious positions within the

Company, including, but not limited to, Chief Executive Officer, Chief Operating Officer, Chief

Actuary, Chief Medical Officer, Chief Information Officer, General Counsel, President,

Executive Vice President, Senior Vice President and Vice President.

       39.     Indeed, it was Plaintiffs who built EmblemHealth into the successful health

insurance company it is today, worth approximately $10 billion and with more than 3 million

active members.

       40.     Without the tireless efforts of Plaintiffs, EmblemHealth would not be nearly as

successful as it has been over the last 36 years.

EmblemHealth’s Promises to Plaintiffs

       41.     Despite their contributions to EmblemHealth’s success, however, EmblemHealth

recently decided it would not honor its agreements with Plaintiffs to repay them for their hard

work through the provision of health benefits to them and their dependents during retirement so

long as they remained retired, paid the applicable premiums, enrolled in Medicare when eligible

and EmblemHealth continued to offer to active officers health benefits.

       A.      Plaintiffs Who Were Promised Retiree Benefits as Consideration in
               Separation Agreements

       42.     All Plaintiffs, except for Plaintiff Watson, signed Separation Agreements that

provided, as consideration, retiree health benefits.



                                                    6
         Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 7 of 18




       43.     Specifically, the Separation Agreements provided, in substantial similar form:

               As consideration for your entering into and complying with the
               terms of this Agreement, EmblemHealth will provide you with the
               following severance pay and severance related benefits (collectively
               hereinafter “Severance Benefits”), which you acknowledge you
               would not be eligible to receive unless you sign this Agreement and
               it becomes Effective as provided in Section 12(i) below:

       44.     As part of the Separation Agreements, Plaintiffs were promised as part of their

“Severance Related Benefits:”

               At the conclusion of the Health Benefits Continuation Period, you
               will be able to commence Retiree Health Benefits at the same level
               as that provided an active officer for you and your eligible
               dependents, provided that you pay the same amount of premium for
               such coverage as is paid by an executive then employed by
               EmblemHealth for the same level of benefits, and provided further
               that upon becoming Medicare eligible, you enroll in Medicare and
               elect the appropriate coordination of benefits for continued health
               coverage. During the Health Benefits Continuation Period, you will
               be responsible to pay all applicable co-insurance, co-pays,
               deductibles and other costs as may be otherwise required under the
               terms of the Health Benefits plans.

(Emphasis added).

       45.     Plaintiffs’ right to continue to receive retiree health benefits had no fixed

duration, and thus was clearly intended by all parties to last for the remainder of their lives,

provided that they satisfied the conditions set forth in the applicable definition of “Severance

Benefit,” which all of the Plaintiffs did, and health benefits were offered to active officers.

       46.     Plaintiffs’ right to continued health benefits was only subject “to the terms and

conditions of each applicable Health Benefit plan as may exist or change for similarly situated

employees of EmblemHealth from time to time.” (Emphasis added).

       47.     In other separation agreements, not applicable to Plaintiffs’ claims,

EmblemHealth used the phrase “similar situated retired officers.” (Emphasis added).




                                                  7
         Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 8 of 18




       48.     EmblemHealth had no right in the Separation Agreements to terminate Plaintiffs’

retiree health benefits, except to the extent EmblemHealth terminated health benefits for

similarly situated officers actively employed at EmblemHealth. 2

       49.     As discussed below, the promise of retiree health benefits in the Separation

Agreements is consistent with Plaintiffs’ employment agreements that promised that they “shall

be entitled” to retiree health benefits once they left EmblemHealth, as well as Plaintiffs’

understanding that retiree benefits were not subject to termination unless they failed to meet the

eligibility requirements or EmblemHealth terminated health benefits for active officers.

       B.      Other Plaintiffs Who Are Entitled to Retiree Health Benefits

       50.     Plaintiff Watson is entitled to retiree health benefits under his agreement with

EmblemHealth.

       51.     Plaintiff Watson signed an employment agreement dated January 1, 2009 that

provided:

               If the Executive retires under the Supplemental Executive
               Retirement Plan for EmblemHealth Services Company, LLC
               (“SERP”), the Executive shall be entitled to receive retiree health
               coverage at the same level as that provided an active officer for
               himself and his eligible dependents, provided that he pays the same
               amount for the premium for such coverage as is paid by an executive
               then employed by EmblemHealth Services for the same level of
               medical benefits and provided further that upon becoming Medicare
               eligible, the Executive enrolls in Medicare and elects the appropriate
               Medicare coordination of benefits for continued health coverage.

(Emphasis added).

       52.     Plaintiff Watson retired under the SERP and is entitled to receive retiree health

benefits under the terms of his employment agreement.



2
        A separation agreement dated February 23, 2016 noticeably removes retiree health
benefits as part of the agreement’s consideration.


                                                 8
            Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 9 of 18




        53.     At all relevant times, EmblemHealth described in documents that an active officer

covered by a written employment agreement that specifically provides for retiree health benefits

based upon retirement under the SERP (or SERP II), that officer would be eligible for retiree

health benefits “based upon the terms of that agreement.”

        54.     EmblemHealth had no right to modify Plaintiff Watson’s right to retiree health

benefits as provided in his employment agreement.

Plaintiffs All Understood That Health Benefits Would Continue While Retired

        55.     Plaintiffs, all of whom were among the most senior Executives of EmblemHealth,

understood that their retiree benefits would continue throughout their lives, so long as they

continued to pay their premiums, remained retired and health benefits were offered to active

officers.

        56.     Through discovery, hundreds, if not thousands, of other documents and

communications during Plaintiffs’ employment, including, inter alia, various benefits

presentations, board minutes, committee minutes and other communications about the nature of

the retiree benefits, will reflect that the retiree health benefits promised to them were understood

to not be subject to termination or amendment once they retired and were expected to continue so

long as they met the eligibility requirements and health insurance was offered to active officers.

        57.     The employment agreements of almost all Plaintiffs’ provided that they “shall be

entitled retiree health coverage” at separation without any qualification that such benefits could

be terminated unless they failed to meet the eligibility requirements or the Company stopped

offering health benefits to active officers.




                                                 9
         Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 10 of 18




        58.      Put simply, EmblemHealth’s termination of the retiree health benefits of Plaintiffs

and similarly situated retired officers was a knowing and deliberate decision contrary to the

understanding and express promises made to Plaintiffs during their employments.

Plaintiffs Meet All Criteria for Retiree Health Benefits

        59.      Plaintiffs have met all of the criteria to continue retiree health benefits (until

EmblemHealth unlawfully cancelled their benefits) by: (i) paying the same premium for

coverage as was paid by executives then-employed by Defendants for the same level of medical

benefits; (ii) not working or consulting full-time while retired; and (iii) enrolling in Medicare

when eligible.

EmblemHealth Defrauded Plaintiffs and Other Similarly Situated Retired Officers of
Continued Health Benefits to Save Money

        60.      Starting on May 31, 2016, each of Plaintiffs received a letter from EmblemHealth

stating, “Starting January 1, 2017, EmblemHealth will no longer provide group retiree major

medical coverage. Rather we will provide you with the opportunity to purchase individual

insurance coverage . . . on a private health insurance exchange.”

        61.      Blindsided by this news, several Plaintiffs reached out to EmblemHealth to notify

the Company that its decision was in breach of its binding agreements with each Plaintiff.

        62.      In response, the Company relied on unrelated language in Plaintiffs’ agreements

to claim that EmblemHealth had the right to unilaterally change the terms of the agreements,

even though no such right existed.

        63.      Upon information and belief, EmblemHealth knowingly deceived Plaintiffs and

other similarly situated retired officers in terminating their right to continued health benefits as a

cost-saving measure, and has engaged in conduct designed to defraud Plaintiffs and similarly

situated retired officers.



                                                    10
        Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 11 of 18




       64.       By way of example, EmblemHealth, in a letter to former employees justifying the

termination of benefits, omitted relevant language from the Separation Agreements that stated

the severance benefits were excluded from coverage under an existing welfare benefit plan.

       65.       To the extent permitted by law, Plaintiffs and other similarly situated retired

officers seek exemplary or punitive damages as a result of EmblemHealth’s malicious and

fraudulent conduct to deprive them of their right to continued retiree health benefits.

                 PUTATIVE CONTRACT CLASS ACTION ALLEGATIONS

       66.       Plaintiffs’ breach of contract and breach of implied covenant of good faith and

fair dealing are being prosecuted as a class action pursuant to FRCP 23. Plaintiffs are

representative of the Putative Contract Class of officers who were entitled to retiree health

benefits under the terms of their separation agreements and/or retirement agreements.

       67.       The breaches of contract committed by the Company include, but are not limited

to, refusing to honor contractual promises to provide retiree health coverage contained in

EmblemHealth’s agreements with Executives.

Class Definition

       68.       Plaintiffs seek to maintain claims on their own behalf and on behalf of a class of

Executives employed at the Company who were contractually provided with retirement benefits,

and whose benefits were terminated by the Company without the required consent of the

Executives (the “Putative Contract Class”). The Putative Contract Class is further made up of

any such Executives who received the aforementioned post-retirement benefits at any time

during the applicable liability or statute of limitations periods, up to and including the date of any

judgment in this case. This Putative Contract Class is so numerous that joinder of all members is

impracticable.




                                                  11
        Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 12 of 18




       69.       Plaintiffs and the Putative Contract Class have standing to seek such relief

because of the adverse effects that Defendants’ breaches of contract have had on them,

individually and generally.

       70.       The breaches of contract described in this Second Amended Complaint now

appear to be part of EmblemHealth’s normal course of conduct.

Numerosity and Impracticality of Joinder

       71.       The Putative Contract Class is sufficiently numerous to make joinder of all of

them impractical. While the exact number of Putative Contract Class members is unknown

because such information is in the exclusive control of Defendants, there are a sufficient number

of former older Executives who have been victims of identical or similar breaches by

EmblemHealth, in violation of the law, such that joinder of all members is impracticable.

       72.       EmblemHealth’s 2016 Form 5500 to the Secretary of Labor evidences that over

600 retired or separated employees were receiving health insurance benefits.

       73.       Accordingly, although the number of Putative Contract Class members is

incapable of precise determination at this time, it is significant and satisfies the numerosity

requirement of FRCP 23(a).

Common Questions of Law and Fact

       74.       The claims alleged on behalf of the Putative Contract Class raise questions of law

and fact common to the Class. Chief among these questions is: (1) whether Defendants entered

into binding contracts with their Executives; (2) whether Defendants breached those binding

contracts; and (3) whether the Putative Contract Class members suffered damages as a result of

such a breach.

       75.       Thus, the common question requirement of FRCP 23(a) is satisfied.




                                                  12
         Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 13 of 18




Typicality of Claims and Relief Sought

         76.   Plaintiffs are members of the class they seek to represent. Plaintiffs’ claims are

typical of the claims of the Putative Contract Class in that they all arise from the identical or

similar agreements with Defendants, and are based on the legal theory that Defendants breached

these agreements in violation of state law. Plaintiffs and the Putative Contract Class members all

allege that they each were victims of breaches of contract by Defendants. The relief Plaintiffs

seek for Defendants’ unlawful breaches is typical of the relief which is sought on behalf of the

Putative Contract Class members.

         77.   The unlawful breaches suffered by Plaintiffs, and the damages resulting

therefrom, is sadly typical of Defendants’ treatment of the Putative Contract Class members as a

whole.

         78.   Thus, the typicality requirement of FRCP 23(a) is satisfied.

Adequacy of Representation

         79.   The interests of the Plaintiffs are co-extensive with those of the Putative Contract

Class they seek to represent in the instant case. Plaintiffs are willing and able to represent the

proposed Putative Contract Class fairly and vigorously as they pursue their similar individual

claims. Plaintiffs have retained counsel who are qualified and experienced in employment class

action litigation and who are able to meet the time and fiscal demands necessary to litigate a

class action of this size and complexity.

         80.   The combined interests, experience and resources of the Plaintiffs and their

counsel to competently litigate the individual and Putative Contract Class claims at issue in the

instant case satisfy the adequacy of representation requirement of FRCP 23(a).




                                                  13
        Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 14 of 18




Requirements of FRCP 23(b)(1)

       81.     Without class certification, the same evidence and issues would be subject to re-

litigation in a multitude of individual lawsuits with an attendant risk of inconsistent adjudications

and conflicting obligations. Specifically, all evidence of whether Defendants breached the

identical or nearly identical agreements with the Putative Contract Class would be exchanged

and litigated repeatedly. Accordingly, certification of the proposed Putative Contract Class is the

most efficient and judicious means of presenting the evidence and arguments necessary to

resolve such questions for Plaintiffs, the Putative Contract Class and Defendants.

       82.     By filing this Second Amended Class and Collective Action Complaint, Plaintiffs

are preserving the rights of the Putative Contract Class with respect to the statute of limitations

on their claims. Therefore, not certifying a class would substantially impair and/or impede the

other members’ ability to protect their interests.

Requirements of FRCP 23(b)(2)

       83.     Defendants acted on grounds, described herein, generally applicable to Plaintiffs

and the Putative Contract Class, by breaching identical or nearly identical agreements with each

of the Putative Contract Class members. These acts are not sporadic or isolated, and support the

request for final injunctive and declaratory relief with respect to Plaintiffs and the Putative

Contract Class as a whole.

       84.     Declaratory and injunctive relief flow directly and automatically from proof of the

common questions of law and fact regarding the existence and breach of explicit separation

and/or retirement agreements with the Putative Contract Class.




                                                 14
          Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 15 of 18




          85.   Declaratory and injunctive relief are the factual and legal predicates for Plaintiffs’

and the Putative Contract Class’s entitlement to monetary and non-monetary remedies for

individual losses caused by, and exemplary purposes necessitated by, such breaches of contract.

          86.   Accordingly, injunctive and declaratory relief is among the predominant forms of

relief sought in this case.

Requirements of FRCP 23(b)(3)

          87.   The common issues of fact and law affecting Plaintiffs’ claims and those of the

Putative Contract Class, including, but not limited to, the common issues identified in the

paragraphs above, predominate over issues affecting only individual claims.

          88.   A class action is superior to other available means for the fair and efficient

adjudication of Plaintiffs’ claims and the claims of the Putative Contract Class.

          89.   The cost of proving Defendants’ pattern and practice of breaching their separation

and/or retirement agreements with Executives makes it impractical for the members of the

Putative Contract Class to pursue their claims individually.

          90.   The class action will not be difficult to manage for reasons including, but not

limited to, the discrete organizational nature of the Putative Contract Class (they must have

worked for Defendants as Executives, meaning in the role of Vice President or a more senior

position), as well as the common questions of law and fact described above.

                                   FIRST CAUSE OF ACTION
                                       (Breach of Contract)
                                   (Individual and Class Claims)

          91.   Plaintiffs and the members of the Putative Contract Class hereby repeat, reiterate

and re-allege each and every allegation in each of the preceding paragraphs as if fully set forth

herein.




                                                  15
          Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 16 of 18




          92.   EmblemHealth entered into binding and enforceable contracts with Plaintiffs and

the members of the Putative Contract Class pursuant to which EmblemHealth would provide

retiree health benefits.

          93.   EmblemHealth breached these contracts by withdrawing its retiree health

coverage from Plaintiffs and the members of the Putative Contract Class.

          94.   EmblemHealth’s breaches of contract have caused Plaintiffs and the members of

the Putative Contract Class to suffer monetary and/or economic harm, for which they are entitled

to an award of monetary damages and other relief.

                                SECOND CAUSE OF ACTION
                (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                                 (Individual and Class Claims)

          95.   Plaintiffs and the members of the Putative Contract Class hereby repeat, reiterate

and re-allege each and every allegation in each of the preceding paragraphs as if fully set forth

herein.

          96.   EmblemHealth entered into binding and enforceable contracts with Plaintiffs and

the members of the Putative Contract Class pursuant to which EmblemHealth would provide

retiree health benefits.

          97.   By withdrawing its retiree health coverage from Plaintiffs and the members of the

Putative Contract Class, EmblemHealth acted in a manner that, even if not expressly forbidden

by any contractual provision, deprived Plaintiffs of the right to receive benefits under these

contracts.

          98.   EmblemHealth’s implied promise to act in good faith and deal fairly with

Plaintiffs and the members of the Putative Contract Class is not contrary to any express provision

in the contracts.




                                                 16
        Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 17 of 18




       99.     EmblemHealth’s breaches have caused Plaintiffs and the members of the Putative

Contract Class to suffer monetary and/or economic harm, for which they are entitled to an award

of monetary damages and other relief.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and members of the Contract Classes pray that the Court enter

judgment in their favor and against Defendants, containing the following relief:

       A.      A declaratory judgment that the actions, conduct and practices of Defendants

complained of herein violate the laws of the State of New York;

       B.      An injunction and order permanently restraining Defendants from engaging in

such unlawful conduct;

       C.      Declare this action to be maintainable as a class action pursuant to FRCP 23, and

direct Defendants to provide Plaintiffs with a list of all members of the Putative Contract Class,

including all last known addresses, telephone numbers and e-mail addresses of each such person,

so Plaintiffs can give such persons notice of this action and an opportunity to make an informed

decision about whether to participate in it;

       D.      Designate Plaintiffs as representatives of the Putative Contract Class, and their

counsel of record as class counsel;

       E.      An award of damages in an amount to be determined at trial, plus prejudgment

interest, to compensate Plaintiffs and members of the Putative Contract Class for all monetary

and/or economic damages, including, but not limited to, loss of retiree health coverage for them

and their eligible dependents;

       F.      An award of damages for any and all other monetary and/or non-monetary losses

suffered by Plaintiffs and members of the Putative Contract Class in an amount to be determined




                                                17
        Case 1:17-cv-07814-KPF Document 68 Filed 06/08/20 Page 18 of 18




at trial, plus prejudgment interest;

       G.      An award of punitive damages in an amount to be determined at trial;

       H.      An award of costs that Plaintiffs and members of the Putative Contract Class have

incurred in this action, including, but not limited to, expert witness fees, as well as Plaintiffs’ and

the Putative Contract Class members’ reasonable attorneys’ fees and costs to the fullest extent

permitted by law or contract; and

       I.      Such other and further equitable relief as the Court may deem just and proper.

Dated: June 8, 2020
       New York, New York
                                                       Respectfully submitted,

                                                       WIGDOR LLP


                                                       By: _________________________
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                                                       Contract Class




                                                  18
